          Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 1 of 7 PageID #: 7


                                 CIVIL CASE INFORMATION STATEMENT
                       IN THE CIRCUIT COURT OF CABELL COUNTY, WEST VIRGINIA


  I.         CASE STYLE:

 EDWARD CLE VENGER,

                        Plaintiff,

 V.                                                                Civil Action No.
                                                                   (Judge
                                                                                    19re,
                                                                                Is/ CHRISTOPHER D. CHILES
 METROPOLITAN HUNTINGTON, LLC,
 d/b/a PULLMAN SQUARE, an Ohio limited
 liability company,

                        Defendant.

                                   Defendant                  Days to          Type of Service
                                                              Answer
   Metropolitan Huntington, LLC
   Corporation Service Company                                30           Secretary of State
   209 West Washington Street
   Charleston, WV 25302




Original and two (2) copies of complaint enclosed/attached.
        Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 2 of 7 PageID #: 8



       PLAINTIFF:   EDWARD CLEVENGER                                    CASE NUMBER:

       DEFENDANT: METROPOLITAN HUNTINGTON, LLC, d/b/a
       PULLMAN SQUARE, an Ohio limited liability company
                                                                                      /2
II.       TYPE OF CASE:
ES]General Civil                                       OAdoption
• Mass Litigation                                      El Administrative Agency Appeal
    O Asbestos                                         El Civil Appeal from Magistrate Court
    O Carpal Tunnel Syndrome                           El Miscellaneous Civil Petition
    O Diet Drugs                                       LII Mental Hygiene
    O Environmental                                    O Guardianship
    O Industrial Hearing Loss                          0 Medical Malpractice
    O Silicone Implants
    O Other:
El Habeas Corpus/Other Extraordinary Writ
1:1Other:


III.      JURY DEMAND rg YES DNO
          CASE WILL BE READY FOR TRIAL BY (MONTH/YEAR):                10/2020


IV.       DO YOU OR ANY OF YOUR CLIENTS OR WITNESSES IN THIS CASE REQUIRE
          SPECIAL ACCOMMODATIONS DUE TO A DISABILITY OR AGE? 0 YES       Z NO
          IF YES, PLEASE SPECIFY:
          El Wheelchair accessible hearing room and other facilities
          0 Interpreter or other auxiliary aid for the hearing impaired
          El Reader or other auxiliary aid for the visually impaired
          El Spokesperson or other auxiliary aid for the speech impaired
          1:1 Other:

Attorney Name:        Scott S. Segal (WV Bar #4717)    Representing:
                     Jason P. Foster (WV Bar #10593)
Firm:                THE SEGAL LAW FIRM, L.C.          ts:Plaintiff   Defendant
Address:              810 Kanawha Boulevard, East      O Cross-Complainant 0 Cross- Defendant
                     Charleston, VVV 25301
Telephone:            (304) 344-9100
Facsimile:            (304) 344-9105
E-mail:              scott.segalsecial-law.corn
                     jason.fostersecial-law.corn



Dated: October 21, 2019
      Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 3 of 7 PageID #: 9




             IN THE CIRCUIT COURT OF CABELL COUNTY, WEST VIRGINIA

 EDWARD CLEVENGER,

         Plaintiff,

 V.                                                           Civil Action No.                   -c
                                                              (Judge      /s/ CHR(I,TNPHER              CH)LES
                                                                                     •••••—
                                                                                        o's•-•
 METROPOLITAN HUNTINGTON, LLC,                                                               rr I
 d/b/a PULLMAN SQUARE, an Ohio limited                                                                N.)
 liability company,

        Defendant.

                                           COMPLAINT

        NOW COMES Plaintiff, Edward Clevenger ("Plaintiff"), by counsel, Scott S. Segal, Jason

P. Foster and The Segal Law Firm, and for his Complaint against Defendant Metropolitan

Huntington, LLC, d/b/a Pullman Square, ("Defendant"), states as follows:

                                            I. PARTIES

        I.      Plaintiff is and was at all times relevant to the events underlying this Complaint a

citizen and part-time resident of Westmoreland, Wayne County, West Virginia.

        2.      Defendant is and was at all times relevant to the events underlying this Complaint

a limited liability company existing under the laws of the State of Ohio and duly registered with

the West Virginia Secretary of State to do business in the State of West Virginia.

                                II. JURISDICTION AND VENUE

        3.      Jurisdiction and venue are vested with the Circuit Court of Cabell County, West

Virginia, as the incident giving rise to this claim occurred in Cabell County, West Virginia,

Plaintiff resides in Cabell County and Defendant operates the Pullman Square shopping center

where the events giving rise to this civil action occurred.
     Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 4 of 7 PageID #: 10




                                              III. FACTS

         4.      Plaintiff incorporates all allegations above as if fully restated and re-alleged and

 Plaintiff further complains and says as follows:

         5.      At all times relevant to this civil action, Defendant operated the Pullman Square

 shopping center located at 220 9th Street, Huntington, West Virginia ("Pullman Square").

         6.      On February 13, 2019, Plaintiff was lawfully upon the Pullman Square premises

during regular business hours.

        7.      On February 13, 2019, Plaintiff visited Pullman Square for the purpose of shopping

at the stores located at Pullman Square.

        8.      Plaintiff was going up the escalator located on the Pullman Square premises nearing

the top when the escalator suddenly and without warning stopped, throwing Plaintiff forward.

        9.      The escalator immediately thereafter jerked forward suddenly and without warning

throwing Plaintiff backwards causing Plaintiff to lose his balance and fall part-way down the

escalator.

        10.     As a result of the fall, Plaintiff received several severe injuries including extensive

lacerations, abrasions, a broken clavicle and a head injury.

                                             COUNT I
                                           NEGLIGENCE

        11.     Plaintiff incorporates all allegations above as if fully restated and re-alleged and

Plaintiff further alleges as follows:

        12.     As the operator of Pullman Square, Defendant owed Plaintiff a duty to exercise

ordinary care to keep and maintain the Pullman Square premises in a reasonably safe condition.

        13.    As part of this duty, Defendant owed a duty to Plaintiff to maintain the escalator in

a reasonably safe condition.

                                                  2
     Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 5 of 7 PageID #: 11




         14.     Defendant breached its duty to Plaintiff by failing to maintain the escalator in a safe

 operating condition.

         15.    As a direct and proximate result of Defendant's tortious acts and/or failures to act,

 Plaintiff sustained severe and permanent personal injuries.

                                         COUNT II
                                    DAMAGES OF PLAINTIFF

         15.    Plaintiff incorporates all allegations above the same as if fully restated and re-

 alleged and Plaintiff further alleges as follows:

        16.     As a direct and proximate result of Defendant's tortious acts and/or failures to act,

Plaintiff sustained severe and permanent injuries to his person.

        17.     As a direct and proximate result of Defendant's tortious acts and/or failures to act,

Plaintiff incurred medical bills for his care and treatment, as well as other expenses.

        18.     As a direct and proximate result of Defendant's tortious acts and/or failures to act,

Plaintiff has experienced a loss of enjoyment of life.

        19.     As a direct and proximate result of Defendant's tortious acts and/or failures to act,

Plaintiff has endured and will continue to endure in the future, severe pain and suffering,

physically, mentally and emotionally.

        WHEREFORE, Plaintiff respectfully prays that this Honorable Court enter judgment

against Defendant in an amount in excess of this Court's jurisdictional minimum, pre- and post-

judgment interest and any other relief this Court deems just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury upon all issues triable by a jury raised herein.




                                                     3
    Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 6 of 7 PageID #: 12




                                       EDWARD CLEVENGER,
                                       Plaintiff,

                                       By counsel:




Sco     S     (     Bar I.D. #4717)
J on      oster (WV Bar I.D. #10593)
THE SEGAL LAW FIRM
A Legal Corporation
810 Kanawha Boulevard, East
Charleston, West Virginia 25301
Telephone: (304) 344-9100
Facsimile: (304) 344-9105




                                        4
         Case 3:20-cv-00195 Document 1-1 Filed 03/19/20 Page 7 of 7 PageID #: 13




               Cabell County Circuit Clerk's Office                         Page:      1
               750 5th Avenue
               Huntington, WV 25701

RECEIPT
NUMBER: 304406                                                        October 23,   2019

Received of:    Scott S.    Segal

The exact sum of Two Hundred        Dollars and 00 cents


Plaintiff: Edward Clevenger
Defendant: Metropolitan Huntington,          d/b/a Pullman S

Case Number:   CK-6-2019-C-482

Description                                                                     Amount
FILE       CIVIL           Filing Fee                                           200.00
PAYMENT -CHECK (2216)                                                          -200.00

                                    Jeffrey E.      bd,   Circuit   lerk

                                    Deputy
                                             Bett   Utt
